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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

DEFENSE DISTRIBUTED and SECOND                   §
AMENDMENT FOUNDATION, INC.,                      §
                                                 §
        Plaintiffs,                              §
                                                 §
vs.                                              §
                                                 §
GURBIR GREW AL, in his official capacity as      §
the State of New Jersey's Attorney General;      §
MICHAEL FEUER, in his official capacity as       §
the City of Los Angeles, California's City       §   Civil Action No. l:18-CV-637
Attorney; ANDREW CUOMO, in his official          §
capacity as the State of New York's Governor;    §
MATTHEW DENN, in his official capacity as        §
the State of Delaware's Attorney General; JOSH   §
SHAPIRO, in his official capacity as the         §
Commonwealth of Pennsylvania's Attorney          §
General; and THOMAS WOLF, in his official        §
capacity as the Commonwealth of                  §
Pennsylvania's Governor,                         §
                                                 §
        Defendants.                              §


      DEFENDANTS THOMAS WOLF AND JOSH SHAPIRO'S MOTION TO DISMISS
            PURSUANT TO FED. R. CIV. P. 12(B)(l), 12(B)(2) AND 12(B)(6)
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                                                                       VI
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           Defendants Thomas Wolf and Josh Shapiro, who have been sued in their official capacities as

Governor and Attorney General of the Commonwealth of Pennsylvania (collectively, the

"Pennsylvania Defendants"), move to dismiss Defense Distributed's and Second Amendment

Foundation, lnc.'s (collectively, the "Plaintiffs") First Amended Complaint (the "Am. Comp!.")

pursuant to Federal Rules of Civil Procedure 12(6)(1), 12(6)(2) and 12(6)(6), and would respectfully

show as follows:

                                                       I.
                                              INTRODUCTION

           The Pennsylvania Defendants are high ranking public officials - the Governor, the Supreme

Executive; and the Attorney General, the Chief Law Officer- for the Commonwealth of Pennsylvania

("Pennsylvania") who, as elected representatives, are entrusted with advancing the policy goals of

their constituents. They have been sued here for nothing more than doing their jobs by lawfully and

appropriately fighting to restrict the unrestrained publication and proliferation of 3-D printed guns in

Pennsylvania. They have no contacts with Texas and have taken no action toward Plaintiffs in this

forum.

         The Plaintiffs sue the Pennsylvania Defendants here based solely on the following five

actions:

           1.      joining 20-other states in sending a letter to Secretary of State Mike Pompeo and then
                   Attorney General Jeff Sessions;

         2.        joining 7 other states and the District of Columbia in seeking a preliminary injunction
                   in Washington;

         3         filing suit in the Eastern District of Pennsylvania to prevent action in Pennsylvania;

         4.         issuing a press release about the Pennsylvania suit; and

         5.        issuing a press statement opposing Plaintiffs' actions.

Nonetheless, Plaintiffs bring this suit asking this Court to reach well beyond its borders and enjoin

these foreign state officials from protecting their citizens.
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         By filing this lawsuit, Plaintiffs have: (1) sued strangers to this forum over whom the Court

lacks personal jurisdiction; (2) asserted claims for which the Pennsylvania Defendants are immune

and the Court lacks subject matter jurisdiction to decide; (3) complained only that the Pennsylvania

Defendants have petitioned the Federal Government for redress and engaged in protected political

speech; ( 4) attempted to collaterally attack a preliminary injunction entered by a sister Article III

court; (5) filed this suit in an improper venue; and (6) invoked the courts as a means to silence

opposing speech on a matter of public concern. Any one of the foregoing would foreclose this lawsuit.

All are present here.

         For the reasons summarized above and discussed in more detail below, the Court should

dismiss all claims against the Pennsylvania Defendants.

                                          II.
                           FACTUAL & PROCEDURAL BACKGROUND

A.       Plaintiffs' Case Against the State Department.

         Until recently, the federal government prohibited the distribution of Computer Aided Design

("CAD") files for the production of 3-D printed weapons, by including them on the United States

Munitions List ("USML") and making them subject to the International Traffic in Arms Regulations

("ITAR"). 1

         In 2015, Plaintiffs filed a lawsuit in this Court against the State Department and several of its

officers (collectively, the "Federal Government"), challenging the constitutionality of that

prohibition. See Defense Distributed et al. v. U.S. Dep 't ofState, et al., No. 1: 15-cv-00372-RP (W.D.

Tex.) (Pitman, J.) ("Defense Distributed I"). 2 This Court declined to enjoin the Federal Government's




     The IT AR are administered by the Directorate of Defense Trade Controls (DDTC) within the Department
     of State.
     The Pennsylvania Defendants ask the Court to take judicial notice of the various pleadings and motions
     that were before it in Defense Distributed I. See MacMillan Bloedel Ltd. v. Flintkote Co., 760 F.2d 580,
     587 (5th Cir. 1985) ("A court may take judicial notice of related proceedings and records in cases before
     the same court.").

                                                      2
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    regulation of the CAD files, finding that "[f]acilitating global access to firearms undoubtedly

    increases the possibility of outbreak or escalation of conflict." Def Distributed v. U.S. Dep 't of State,

    121 F. Supp. 3d 680, 691 (W.D. Tex. 2015). The Fifth Circuit affirmed, 3 and the Supreme Court

denied Plaintiffs' petition for writ of certiorari. 4

           On April 6, 2018, after the Court lifted a stay that had been imposed pending the above-

referenced appeals, the Federal Government moved to dismiss Plaintiffs' complaint, arguing that the

CAD files at issue "can unquestionably facilitate the creation of defense articles abroad" and that "the

Department of State has consistently and reasonably concluded that it is not possible to meaningfully

curtail the overseas dissemination of arms if unfettered access to technical data essential to the

production of those arms is permitted." See Defense Distributed I, Dkt. No. 92 at p. 3, 7. If the

Federal Government were not permitted to regulate the dissemination of the CAD files, it argued,

"they could be used to threaten U.S. national security, U.S. foreign policy interests, or international

peace and stability." Id. at p. 1.

           A few weeks after the Federal Government moved to dismiss, Plaintiffs abruptly announced

that their case, Defense Distributed I, had settled. See Defense Distributed I, Dkt. No. 93. The parties

filed a stipulation of dismissal with prejudice on July 27, 2018, and, on July 30, 2017, the Court

entered a final order of dismissal with prejudice. See Defense Distributed I, Dkt. Nos. 112 & 113.

           In the Defense Distributed I settlement agreement, the Federal Government agreed to: (i) draft

and fully pursue a notice of rulemaking and a final rule to remove the CAD files from IT AR

jurisdiction; (ii) temporarily modify Category I of the USML to exclude the CAD files from IT AR;

(iii) issue a letter to Defense Distributed advising that its CAD files are exempt from IT AR and

"approved for public release (i.e., unlimited distribution)"; and (iv) permit "any United States person"




       See Def Distributed v. United States Dep 't of State, 838 F.3d 451 (5th Cir. 2016)
4
       See Def Distributed v. Dep 't of State, 138 S. Ct. 638 (2018).

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to "use, reproduce or otherwise benefit from" the files at issue (the "Settlement Agreement"). See

Am. Compl. at i!i!40-52 and Dkt. No. 23-1.

           Plaintiffs claim that they began sharing the CAD files online on July 27, 2018. See Am.

Compl. at i!53.

B.         The States' Lawsuit Against the Federal Government in the Western District of
           Washington. 5

           On July 30, 2018, Pennsylvania - together with the states of Washington, Connecticut,

Maryland, New Jersey, New York, Oregon and Massachusetts, and the District of Columbia

(collectively, the "States") - filed suit against the Federal Government and Plaintiffs under the

Administrative Procedures Act, contending that the Settlement Agreement in Defense Distributed I,

completely reversed the Federal Government's position on the dissemination of the CAD files was

done sub rosa and in violation of valid administrative process. See State of Washington et al., v. US.

Dep't of State et al., No. 2:18-cv-1115-RSL (W.D. Wash. filed Jul. 30, 2018) (the "Washington

Suit"); see also Am. Compl. at i!59.

           The States sought a declaration that the "temporary modification" of the USML is invalid,

and an injunction requiring the Federal Government to rescind the procedurally defective

modification and refrain from acting on it. See Washington Suit, 0kt. No. 16; see also Am. Compl.

at i!60.

           The States' request for temporary injunctive relief was granted by the Hon. Robert Lasnik on



     The Pennsylvania Defendants ask the Court to take judicial notice of the complaint, injunction briefing
     and the injunction orders entered in the Washington Suit, all of which are matters of public record, relevant
     to the issues at hand and referenced in paragraphs 59-63 of the Amended Complaint. See FED. R. Evrn.
     201; Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007) ("it is clearly proper in deciding a
     12(b)(6) motion to take judicial notice of matters of public record.")(emphasis added); Lone Star Fund V
     (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010) (When considering a motion to
     dismiss courts are generally "limited to the complaint, any documents attached to the complaint, and any
     documents attached to the motion to dismiss that are central to the claim and referenced by the complaint.")
     (emphasis added). Courtesy copies of these documents, printed from www.pacer.gov, are attached hereto.
     A true and correct copy of the States' Complaint in the Washington Suit-without the exhibits - is attached
     as Exhibit A.

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July 31, 2018 over the Plaintiffs' objection. See id., Dkt. No. 11 7 ; see also, Dkt. No. 23. 8 The States

then moved for a preliminary injunction, which Plaintiffs also opposed. See id., Dkt. Nos. 43 & 63. 9

A central theme of Plaintiffs' opposition to the States' TRO and preliminary injunction in the

Washington Suit echoes what they have alleged here - that the relief sought would impose an

unconstitutional infringement on free speech. For example, Plaintiffs' opposition to the TRO in the

Washington Suit asserted the following:

        •    "This case implicates foundational principles of free speech."
        •    "The States demand a prior restraint of constitutionally protected speech ... "
        •    "These acts are expressly protected by the First Amendment."
        •    "Each of these injunctions would impose a prior restraint on speech."
        •    "Fortunately, the bedrock principles of the First Amendment make this case much easier."

See Exhibit B at p. 3-5. Plaintiffs' opposition to the preliminary injunction in the Washington Suit

similarly argued:

        •    "The Plaintiffs fail to acknowledge the extraordinary scope of their desired relief: A
             nationwide prior restraint of all Americans."
        •    "Although no injunctive relief was issued against [Defense Distributed], the direct result
             of the temporary restraining order was to render speech that was lawful, unlawful."
        •    "Neither the IT AR prior restraint nor an injunction from this Court can satisfy strict
             scrutiny's demanding standard."
        •    "The First Amendment lies at the heart of this case."

See Exhibit D at p. 2, 13-15.

        On August 27, 2018, the Hon. Robert Lasnik entered a preliminary injunction against the

Federal Government prohibiting it from implementing or enforcing the Temporary Modification of

Category I of the USML and the letter to Cody R. Wilson, Defense Distributed, and the Second

Amendment Foundation issued by the U.S. Department of State on July 27, 2018. See id., Dkt. No.




    A true and correct copy of Plaintiffs' "Opposition to Emergency Motion for Temporary Restraining Order"
    in the Washington Suit - without the exhibits - is attached as Exhibit B.
    A true and correct copy of the Hon. Robert Lasnik's Temporary Restraining Order in the Washington Suit
    is attached as Exhibit C.
9
    A true and correct copy of Plaintiffs' Brief in Opposition to the States' Motion for a Preliminary lnj unction
    in the Washington Suit - without the exhibits - is attached hereto as Exhibit D.

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          Plaintiffs failed to seek interlocutory appellate review of the preliminary injunction by the

U.S. Court of Appeals for the Ninth Circuit, notwithstanding their statutory right to do so. See 28

U.S.C. § 1292.

C.        This Texas Action Against the Pennsylvania Defendants.

          On July 29, 2018, Plaintiffs again filed suit in this Court, this time against the Attorney

General of New Jersey and the City Attorney of Los Angeles. See Dkt. No. 1. They later amended

this Texas action on September 17, 2018 - after the Western District of Washington had entered the

preliminary injunction discussed above - to add additional defendants, including the Pennsylvania

Defendants, to complain about the impact of the preliminary injunction in the Washington suit, and

assert affirmative claims based upon the same defensive legal theories that were rejected there. See

Dkt. No. 23.

         The Plaintiffs make only five factual allegations concerning the Pennsylvania Defendants in

this suit:

          1.     Shapiro joined with 20 other states' attorneys general in a letter to Secretary of State
                 Mike Pompeo and then Attorney General Jeff Sessions expressing "serious concern
                 about the Department of State's settlement with Defense Distributed and the proposed
                 rules ... to amend the International Trafficking in Arms Regulations." See Am.
                 Compl. at ,r,rs6-58 and Dkt. No. 23-4.

         2.      Shapiro 11 - on behalf of Pennsylvania - joined seven other States and the District of
                 Columbia in the Washington Suit, which resulted in a preliminary injunction against
                 the Federal Government's procedurally defective modification of the USML. See id.
                 at ,r,rs9-63.

         3.      Shapiro and Wolf filed suit in the Eastern District of Pennsylvania on July 29, 2018 to
                 enjoin Defense Distributed from publishing the CAD files to Pennsylvania residents
                 (the "Pennsylvania Suit") - a lawsuit that was then held in abeyance pending



10   A true and correct copy of the Hon. Robert Lasnik's Preliminary Injunction in the Washington Suit is
     attached hereto as Exhibit E.
11   Although it appears the Plaintiffs are impermissibly collaterally challenging the Washington action here,
     only Attorney General Shapiro - and not Governor Wolf- is a party to that action.

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                  resolution of the Washington Suit. 12 See Am. Comp 1. at ~89.

         4.       Shapiro and Wolf were quoted in a press release issued on July 29, 2018 discussing
                  the Pennsylvania Suit and Defense Distributed's agreement to block Pennsylvania
                  users from its site, which was described as a "victory" for Pennsylvanians. See Am.
                  Compl. at ~~90-92 and Dkt. No. 23-7.

         5.       Shapiro confirmed his opposition to the unrestrained publication of the CAD files in a
                  press statement that was published by Wired Magazine. See Am. Compl. at ~94.

        Based only upon this alleged conduct, Plaintiffs have asserted a litany of constitutional claims

under 42 U.S.C. § 1983 against the Pennsylvania Defendants, in their official capacities. Each must

fail.

                                             III.
                               APPLICABLE STANDARDS OF REVIEW

A.       Motion to Dismiss Under Rule 12(b)(l): Lack of Subject Matter Jurisdiction.

         Under Rule 12(b)(l), a claim is "properly dismissed for lack of subject-matter jurisdiction

when the court lacks the statutory or constitutional power to adjudicate" the claim. In re FEMA

Trailer Formaldehyde Prods. Liab. Litig., 668 F.3d 281, 286 (5th Cir. 2012) (internal quotations

omitted). A court should consider the Rule 12(b)(1) jurisdictional attack before addressing any attack

on the merits, and lack of subject-matter jurisdiction may be found in the complaint alone. Ramming

v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (per curiam). A motion to dismiss for lack of

subject-matter jurisdiction should be granted where it appears certain that the plaintiff cannot prove

any set of facts in support of his claims entitling him to relief. Wagstaff v. US. Dep't of Educ., 509

F.3d 661,663 (5th Cir. 2007) (per curiam).

B.       Motion to Dismiss Under Rule 12(b)(2): Lack of Personal Jurisdiction.

         "When a nonresident defendant presents a motion to dismiss for lack of personal jurisdiction,




12   In the Pennsylvania lawsuit, the Pennsylvania Defendants' request for injunctive relief was mooted when
     Defense Distributed voluntarily agreed to block Pennsylvania users from its site. See Commonwealth of
     Pennsylvania, et al. v. Defense Distributed, et al., No. 2: l 8-cv-03208-PD (E.D. Pa. filed Jul.29, 2018), at
     Dkt. No. 4.

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the plaintiff bears the burden of establishing the district court's jurisdiction over the

nonresident." Stuart v. Spademan, 772 F.2d 1185, 1192 (5th Cir. 1985). When the court considers a

motion to dismiss for lack of personal jurisdiction without holding an evidentiary hearing, the plaintiff

has the burden of making a prima facie case that personal jurisdiction is proper, see Walk Haydel &

Assocs., Inc. v. Coastal Power Prod. Co., 517 F.3d 235,241 (5th Cir. 2008), and the court need not

credit conclusory allegations, even if uncontroverted. Panda Brandywine Corp. v. Potomac Elec.

Power Co., 253 F.3d 865,869 (5th Cir.2001) (per curiam).

C.      Motion to Dismiss Under Rule 12(b)(6): Failure to State a Claim.

        A motion to dismiss under Federal Rule of Civil Procedure 12(b)( 6) tests the formal

sufficiency of the pleadings and is "appropriate when a defendant attacks the complaint because it

fails to state a legally cognizable claim." Ramming v. United States, 281 F .3d 158, 161 (5th Cir.

2001 ). The court must accept the factual allegations of the complaint as true, view them in a light

most favorable to the plaintiff, and draw all reasonable inferences in the plaintiffs favor, id., but need

'"not accept as true conclusory allegations, unwarranted factual inferences, or legal conclusions."'

Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007) (quoting Plotkin v. IP Axess Inc., 407

F .3d 690, 696 (5th Cir. 2005)). To avoid dismissal a plaintiff must allege "enough facts to state a

claim to relief that is plausible on its face." Bell Atlantic Corp. v. Twombly, 550 U.S. 544,548 (2007).

        When considering a motion to dismiss courts are generally "limited to the complaint, any

documents attached to the complaint, and any documents attached to the motion to dismiss that are

central to the claim and referenced by the complaint." Lone Star Fund V (US.), L.P. v. Barclays

Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). In addition, "it is clearly proper in deciding a 12(b)(6)

motion to take judicial notice of matters of public record." Norris v. Hearst Trust, 500 F .3d 454, 461

n. 9 (5th Cir. 2007). See also, See FED. R. Evrn. 201, Lone Star Fund V (US.), L.P. v. Barclays Bank PLC,

594 F.3d 383,387 (5th Cir. 2010).



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                                           IV.
                                 ARGUMENT AND AUTHORITES

A.      Plaintiffs' Claims Should be Dismissed Because the Pennsylvania Defendants are Not
        Subject to Personal Jurisdiction in Texas.

        1.      Personal Jurisdiction: General Principles.

        Because Section 1983 lacks any provision for service of process, federal courts look to the

jurisdictional statutes of the forum state to determine the scope of personal jurisdiction. Stroman

Realty, Inc. v. Antt, 528 F.3d 382,385 (5th Cir. 2008) ("Antt"). And because Texas' long-arm statute

"extends to the limits of the Constitution," the personal jurisdiction of this Court is governed by the

Fourteenth Amendment's Due Process Clause. Religious Tech. Ctr. v. Liebreich, 339 F.3d 369, 373

(5th Cir. 2003). The burden of establishing personal jurisdiction lies with the plaintiff to, at this stage,

"present sufficient facts as to make out only a prima facie case supporting jurisdiction." Alpine View

Co. Ltd. v. Atlas Copco AB, 205 F.3d 208,215 (5th Cir. 2000). The plaintiff must do so for each

defendant individually. Guidry v. US. Tobacco Co., Inc., 188 F.3d 619, 625 (5th Cir. 1999).

        Under the well-established constitutional standard, a court has personal jurisdiction over a

nonresident defendant only where the defendant has "certain minimum contacts with [the forum] such

that the maintenance of the suit does not offend traditional notions of fair play and substantial justice."

Int'! Shoe Co. v. State of Wash., Office of Unemployment Comp. & Placement, 326 U.S. 310,316

(1945) (internal quotation marks and citation omitted). Such minimum contacts can give rise to either

general or specific jurisdiction. Bristol-Myers Squibb Co. v. Superior Court of Cal., San Francisco

Cty., _U.S._, 137 S.Ct. 1773, 1779-80 (2017).

       Courts exercise "general jurisdiction" over any action where the defendant has "continuous

and systematic general business contacts" with the forum state.             Helicopteros Nacionales de

Colombia, S. A. v. Hall, 466 U.S. 408,415 n.9 (1984). This burden is a difficult one, and can be met

only where the defendant's forum contacts are so pervasive "as to render them essentially at home"

in the forum state. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011 ).

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         "Specific jurisdiction" over a non-resident defendant exists only if: (1) "the defendant

purposefully directed its activities toward the forum state or purposely availed itself of the privileges

of conducting activities there," and (2) "the controversy arises out of or is related to the defendant's

conduct with the forum state." Freudensprung v. Offshore Tech. Servs., 379 F.3d 327, 343 (5th Cir.

2004). Put another way, specific jurisdiction is appropriate where the contacts are "relatively few but

give rise to the suit." Whitehead v. ABB Lummus Global BV, 235 Fed. Appx. 241, 242 (5th Cir.

2007).

         The focus of specific jurisdiction is "on the relationship among the defendant, the forum, and

the litigation." Monkton Ins. Servs. v. Ritter, 768 F.3d 429, 432-33 (5th Cir. 2014) (emphasis added).

A plaintiffs own contacts with the forum state cannot be used to demonstrate contacts by the

defendant. Sangha v. Navig8 Shipmanagement Private Ltd., 882 F.3d 96, 103 (5th Cir. 2018) (citing

Walden v. Fiore, 571 U.S. 277, 284 (2014) ("We have consistently rejected attempts to satisfy the

defendant-focused 'minimum contacts' inquiry by demonstrating contacts between the plaintiff (or

third parties) and the forum State.")). This includes, relevant here, where a plaintiff alleges to have

suffered some harm in the forum state. See Revell v. Lidov, 317 F.3d 467,473 n.41 (5th Cir. 2002).

         Only if the plaintiff makes a prima facie showing of minimum contacts does the burden shift

to the defendant to show that a court's exercise of jurisdiction would not comport with "fair play"

and "substantial justice." Freudensprung, 379 F.3d at 343.          In making a fundamental fairness

determination, the court must consider: (I) the burden on the defendant; (2) the forum state's interests;

(3) the plaintiffs' interest in convenient and effective relief; (4) the judicial system's interest in

efficient resolution of controversies; and (5) the several states' shared interest in furthering

fundamental social policies. Stroman Realty, Inc. v. Wercinski, 513 F.3d 476, 487 (5th Cir. 2008)

("Wercinski").




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        2.         The Court Lacks both General and Specific Jurisdiction Over the Pennsylvania
                   Defendants.

        The Pennsylvania Defendants are elected representatives and residents of Pennsylvania - not

Texas. See Am. Compl. at 1118-19. Neither has contacts with Texas that "are so 'continuous and

systematic' as to render them essentially at home" here, and the Amended Complaint does not allege

otherwise.       Goodyear Dunlop Tires Operations, SA., 564 U.S. at 919; Sangha, 882 F.3d at 102.

Thus, there is no basis for general jurisdiction in this case.

        Specific jurisdiction over the Pennsylvania Defendants also is lacking and is controlled by the

Fifth Circuit's decisions in a pair of cases involving a Texas real estate broker, Stroman Realty, Inc.

("Stroman"). Both cases involved claims for declaratory and injunctive relief against public officials

of non-forum states who had sent cease-and-desist letters to Stroman in Texas. Antt, 528 F.3d at 386;

Wercinski, 513 F.3d at 484. Additionally, in Antt, Stroman claimed that California officials had

"attacked [it] in letters to the Texas Real Estate Commission" and that Florida officials "used the

Texas Attorney General's office to get information" about Stroman. 528 F.3d at 386. In both cases,

the Fifth Circuit applied the well-established constitutional standards to hold that the district court

sitting in Texas lacked personal jurisdiction over the out-of-state public officials. Antt, 528 F.3d at

386-87; Wercinski, 513 F.3d at 484-89.

        The case for specific jurisdiction over Governor Wolf and Attorney General Shapiro here is

far weaker than the argument that the Fifth Circuit rejected in Antt and Wercinski. Unlike those cases,

which at least involved direct contact from the foreign state public officials to the plaintiff in the

forum state, here the Plaintiffs do not allege that Governor Wolf or Attorney General Shapiro took a

single action within this forum. Specifically, Plaintiffs allege that:

             •    Attorney General Shapiro sent a letter to Secretary of State Mike Pompeo and then
                  Attorney General Jeff Sessions in Washington, D.C. (see Am. Comp 1. at 1156-58 and
                  Dkt. No. 23-4);

             •    The Office of Attorney General joined a lawsuit in the State of Washington (see Am.
                  Compl. at 1159-63);
                                                   11
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              •   The Pennsylvania Defendants filed a complaint in federal court in Pennsylvania to
                  prevent action within Pennsylvania;

              •   The Pennsylvania Defendants issued a press release about the Pennsylvania lawsuit.
                  See Am. Compl. at 1189-94-92 and Dkt. No. 23-7); and

              •   Shapiro issued a press statement opposing Plaintiffs' actions which was published in
                  Wired Magazine.

While Plaintiffs allege certain other defendants sent cease-and-desist letters or other correspondence

to Defense Distributed in Texas - conduct which was insufficient to establish specific jurisdiction in

Antt and Wercinski - the Pennsylvania Defendants did not do so and the Amended Complaint does

not allege otherwise.

          The alleged conduct by the Pennsylvania Defendants does not amount to purposeful availment

of the privileges of conducting business in Texas. See Wercinski, 513 F.3d at 484 (allegation that

foreign state official '"reached out' to assert her authority" was not purposeful availment). And any

argument that the alleged actions of the Pennsylvania Defendants were designed to affect the actions

of a Texas-based company, would not be sufficient as a matter of law to establish purposeful

availment by "caus[ing] an 'effect"' in Texas. See Wercinski, 513 F .3d at 485 (citing Kulka v.

Superior Court, 436 U.S. 84 (1978)). As the Fifth Circuit has explained, there cannot be effects-

based specific jurisdiction because the Pennsylvania Defendants "derived no benefit from any

activities relating to the forum" by filing suit elsewhere and issuing press statements in Pennsylvania.

See id.

          The fact that Plaintiffs reached into Pennsylvania to distribute 3-D printed guns does not mean

that the Pennsylvania Defendants reached into Texas to stop them. 13 In fact, the Pennsylvania


13   The intra-state actions of high ranking public officials, even involving entities headquartered in other
     states, do not establish sufficient minimum contacts with those other states required for personal
     jurisdiction. See, e.g., Terry v. Dewine, 75 F. Supp. 3d 512, 531 (D.D.C. 2014) (finding no personal
     jurisdiction in the District of Columbia over the Attorney General of Ohio); Gakuba v. Hollywood Video,
     Inc., 2015 WL 5737589, at *4 (D. Or. Sept. 30, 2015) (finding no personal jurisdiction in Oregon over the
     Attorney General of Illinois, despite law enforcement investigation of company headquartered in Oregon).

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Defendants limited their exercise of authority to only Defense Distributed' s actions in Pennsylvania.

See Dkt No. 23-7 (the parties' agreement in the Pennsylvania Suit required Defense Distributed to

"make its sites unaccessible to Pennsylvania users") (emphasis added).

        The actions that the Pennsylvania Defendants are alleged to have taken simply are not

sufficient to invoke either general or specific jurisdiction in Texas. Therefore, the Pennsylvania

Defendants should be dismissed pursuant to FED. R. CIV. P. 12(b)(2).

B.      Plaintiffs' Claims Should be Dismissed for Lack of Subject Matter Jurisdiction Because
        They Are Barred by the Eleventh Amendment and are not Ripe.

        1.      Plaintiffs' Claims are Barred by Eleventh Amendment Immunity and Ex Parte
                Young Does Not Apply.

        Immunity from suit implicates a court's subject matter jurisdiction, and therefore is properly

decided pursuant to Rule 12(b)(l). Chapa v. DOJ, 339 F.3d 388, 389 (5th Cir. 2003). It is long

established that the Eleventh Amendment to the United States Constitution bars all private lawsuits

against non-consenting states in federal court. In re Ayers, 123 U.S. 443, 505 (1887) ("The very

object and purpose of the Eleventh Amendment were to prevent the indignity of subjecting a State to

the coercive process of judicial tribunals at the instance of private parties."). "The Amendment is

rooted in a recognition that the States, although a union, maintain certain attributes of sovereignty,

including sovereign immunity." Puerto Rico Aqueduct and Sewer Auth. v. Metcalf & Eddy, Inc., 506

U.S. 139, 146 (1993) (citing Hans v. Louisiana, 134 U.S. 1, 13 (1890)). Eleventh Amendment

immunity bars suits against states and state agencies "regardless of the relief sought." Id.

        Although states may sometimes waive such immunity, Pennsylvania has expressly withheld

its consent to be sued in federal court. Lavia v. Pa. Dep't of Corr., 224 F .3d 190, 195 (3d Cir. 2000)

(citing 42 Pa. C.S. § 8521 (b )). And a claim against a state government official, in his or her official

capacity, including the claims against Governor Wolf and Attorney General Shapiro, here, is "no

different from a suit against the State itself' because it "is not a suit against the official but rather is a

suit against the official's office." Will v. Mich. Dep 't ofState Police, 491 U.S. 58, 71 (1989).

                                                     13
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                  a.      The Exception Under Ex Parte Young Does Not Apply Because Plaintiffs
                          Do Not Seek Prospective Relief Relating to Ongoing Conduct.

         The courts have developed a limited exception to a state's Eleventh Amendment immunity

for certain claims brought under 42 U.S.C. § 1983 ("Section 1983"), but that limited exception does

not apply here. 14 To "ensure[ ] that state officials do not employ the Eleventh Amendment as a means

of avoiding compliance with federal law," see Puerto Rico Aqueduct, 506 U.S. at 146, a federal court

"may enjoin state officials to conform their future conduct to the requirements of federal law." Quern

v. Jordan, 440 U.S. 332, 337 (1979). This exception allowing certain kinds of declaratory or

injunctive relief against state officials in their official capacity - initially noted in Ex parte Young,

209 U.S. 123 (1908)- is "narrow," in that it "applies only to prospective relief, [and] does not permit

judgments against state officers declaring that they violated federal law in the past." Puerto Rico

Aqueduct, 506 U.S. at 146; see also Lacassagne v. Chapuis, 144 U.S. 119, 124 (1892) (the purpose

of injunctive relief is to afford preventative relief, not correct past wrongs).

         "In determining whether the doctrine of Ex parte Young avoids an Eleventh Amendment bar

to suit, a court need only conduct a 'straightforward inquiry into whether [the] complaint alleges an

ongoing violation of federal law and seeks relief properly characterized as prospective."' Verizon

Maryland, Inc. v. Pub. Serv. Comm 'n of Md., 535 U.S. 635, 645 (2002) (quoting Idaho v. Coeur

d'Alene Tribe of Idaho, 521 U.S. 261,296 (1997) (O'Connor, J.,joined by Scalia and Thomas, JJ.,

concurring in part and concurring in judgment)) (emphasis added).

         The Amended Complaint here -          which asserts claims against Governor Wolf and Attorney

General Shapiro in their respective official capacities -        fails to allege any claim cognizable under

the Ex parte Young exception. Although it seeks declaratory and injunctive relief, it does not seek


14   Section 1983 provides a cause of action against any "person" who, under color of state law, "subjects, or
     causes to be subjected, any citizen of the United States or other person within the jurisdiction thereof to
     the deprivation of any rights, privileges, or immunities secured by the Constitution and laws." 42 U.S.C.
     § 1983.



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prospective relief relating to ongoing conduct. Instead, to the extent it alleges any concrete conduct

at all, the actions are discrete, singular events -        all of which occurred in the past- that supposedly

caused harm to Plaintiffs. See Am. Com pl. ,r,r62-62 (complaining that the Hon. Robert Lasnik entered

a temporary restraining order and preliminary injunction on July 31, 2018 and August 27, 2018,

respectively); ,r90-93 (describing a July 29, 2018 press release); ,r94 (describing an August 29, 2018

press statement quoted in Wired Magazine); ,r,r129, 137, 145, 155, 165, 172 (alleging that Governor

Wolfs and Attorney General Shapiro's past conduct "caused damages to the Plaintiffs").

         Quite simply, Plaintiffs do not allege that Governor Wolf or Attorney General Shapiro are

currently engaging in conduct 15 that the Court could enjoin under Ex parte Young. 16 Because

Plaintiffs only seek declaratory relief related to past alleged conduct, their claims are barred by the

Eleventh Amendment. See Puerto Rico Aqueduct, 506 U.S. at 146.

         2.       Plaintiffs' Claims are Not Ripe.

         "Ripeness is a component of subject matter jurisdiction, because a court has no power to

decide disputes that are not yet justiciable." Lopez v. City of Houston, 617 F .3d 336, 341 (5th Cir.

2010).

         The Fifth Circuit has held that non-self-executing directives of a state government do not




15   As discussed in Section IV.E infra, the Court cannot entertain a collateral attack of the Hon. Robert
     Lasnik's injunction orders in the Washington Suit, because to do so would interfere with the proper
     jurisdiction ofthe Western District of Washington, see Hays v. McMillan, 418 F. Supp. 116, 120-21 (N.D.
     Tex. 1976), and undercut "the ordinary process of law" afforded by our federal appellate process. See
     Celotex Corp. v. Edwards, 514 U.S. 300, 313 (1995).
16   The same reasoning would apply to the state common law claim in Count VII. Pennsylvania officials
     maintain sovereign immunity from all claims in their official capacity other than those that seek to restrain
     officials from performing unlawful affirmative acts. Stackhouse v. Commonwealth, Pa. State Police, 892
     A.2d 54, 61-63 (Pa. Commw. Ct. 2006). Although generally officials are not immune from claims for
     declaratory relief, where a plaintiff seeks nothing more than to establish the "legal underpinnings" of a
     claim that is itself barred by immunity, then the claim for declaratory relief is also barred. Id. at 63. Here,
     like the federal claims, Plaintiff seeks declaratory and injunctive relief arising out of the allegation that the
     Governor Wolf and Attorney General Shapiro interfered with its settlement agreement "proximately
                                                      in
     caused ... actual damages." See Am. Comp!. 77. This claim is thus barred by sovereign immunity.


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present a live controversy that is ripe for review where "the issuing agency could not itself sanction

non-compliance." Google, Inc. v. Hood, 822 F.3d 212,224 (5th Cir. 2016) (finding pre-enforcement

complaint about state administrative subpoena is not yet ripe). In Google, the Fifth Circuit reasoned

that the recipient of a state administrative subpoena that is "not self-executing and [could] only be

enforced by a district court," lacked standing to raise a pre-enforcement challenge to the subpoena

because "the recipient would 'suffer no undue hardship from denial of judicial relief because it could

not absent a court order 'be forced to comply with the subpoenas nor subject to any penalties for

noncompliance."' See id. at 224-225 (quoting At!. Richfield Co. v. F.TC., 546 F.2d 646, 647 (5th

Cir. 1977)). Where such further judicial enforcement is required, pre-enforcement claims are not ripe

due to "the availability of an adequate remedy at law if, and when, the [party] files an enforcement

action." Id. at 225.

       While Google involved a state administrative subpoena, its reasoning applies more forcefully

to the conduct here - a press release and a press statement, neither of which is self-executing, nor

directed Plaintiffs to do anything.      Accordingly, any complaints regarding the Pennsylvania

Defendants' broad public comments updating their constituents of the status of ongoing litigation, are

not ripe for review under any set of facts. And while it is true that the Washington Suit resulted in

Judge Lasnik's entry of an injunction preventing Plaintiffs from publishing their CAD files, if

Plaintiffs were to violate that order, the States would have to move to enforce that order in his court.

Plaintiffs would be able to oppose such a motion and, in doing so, would be afforded an adequate

remedy at law and opportunity to be heard in that forum. Indeed, Plaintiffs opposed the Washington

Suit injunction in the Western District of Washington prior to its entry and could have moved for

interlocutory appellate review had Plaintiffs chosen to do so. See 28 U.S.C. § 1292.

       For these reasons, Plaintiffs' claims are not ripe and, the Court lacks subject matter jurisdiction

to review them.



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C.      The Western District of Texas is Not a Proper Venue for Plaintiffs to Bring Their Claims
        Against the Pennsylvania Defendants.

        In a civil action, venue is proper in either a judicial district where the defendant resides, or a

judicial district in which a substantial part of the events or omissions giving rise to the claim occurred

or in which a substantial part of property that is the subject of the action is situated. 28 U.S.C. §

l 391(a)(l )-(2). Venue also is proper in a judicial district in which any defendant is subject to personal

jurisdiction at the time the action is commenced, if there is no district in which the action may

otherwise be brought. Id. § 1391(a)(3). None of these necessary elements are present in Plaintiffs'

case against the Pennsylvania Defendants. Therefore, this matter should be dismissed as to the

Pennsylvania Defendants for improper venue.

        First, it is undisputed that the Pennsylvania Defendants both reside in Pennsylvania. Venue

therefore is improper in the Western District of Texas pursuant to 28 U.S.C. § 1391(b)(1) (venue is

proper where defendant resides).

        Second, it is also undisputed that none of the events giving rise to this lawsuit against the

Pennsylvania Defendants occurred in the Western District of Texas.              They occurred only in

Pennsylvania (i.e., the Pennsylvania Suit, press release and press statements), the State of Washington

(i.e., the Washington Suit) and Washington D.C. (i.e., the letter to Secretary of State Mike Pompeo

and then Attorney General Jeff Sessions). None of the allegations relevant to the Pennsylvania

Defendants concerns conduct that occurred in - or was directed at - Texas. Thus, venue also is

improper in the Western District of Texas pursuant to 28 U.S.C. § 139l(b)(2) (venue is proper in the

district where a substantial part of the events occurred).

       Finally, as discussed at length supra, Plaintiffs have pled no facts to suggest that the District

Court for the Western District of Texas has personal jurisdiction over either Governor Wolf or

Attorney General Shapiro - meaning that venue also is not possible under§ 1391(b)(3). There are

no minimum contacts or logical connections between the Pennsylvania Defendants alleged actions


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and Texas. Moreover,§ 1391(b)(3) venue is appropriate only "if there is no district in which the

action may otherwise be brought." Plaintiffs have not - and cannot - make such a showing.

         Since none of the three prongs of 28 U.S.C. § 1391(b) apply, the Court should dismiss this

matter as to the Pennsylvania Defendants because venue is improper in the Western District of Texas.

D.       Plaintiffs' Claims are Barred by Noerr-Pennington Immunity.

         The Noerr-Pennington doctrine protects the Pennsylvania Defendants' First Amendment right

to petition the government for a redress of grievances. United Mine Workers of Workers of Am. v.

Pennington, 381 U.S. 657,670 (1965); E. R.R. Presidents Conference v. Noerr Motor Freight, Inc.,

365 U.S. 127, 135 (1961). While initially rooted in antitrust law, Noerr-Pennington has since been

expanded by the Fifth Circuit to apply to a "broad range of causes that are brought before courts,

legislatures, or governmental entities."            Video Int'! Prod., Inc. v.        Warner-Amex Cable

Communications, Inc., 858 F.2d 1075, 1084 (5th Cir.1988), cert. denied, 491 U.S. 906, 109 S.Ct.

3189, 105 L.Ed.2d 697 (1989). The Fifth Circuit has expressly extended the Noerr-Pennington

doctrine to claims under Section 1983 and for common law tortious interference. See id. at 1082-84;

Bayou Fleet, Inc. v. Alexander, 234 F.3d 852, 860 (5th Cir. 2000).

         The constitutionally protected right to petition encompasses the right to petition all branches

of government: executive, legislative, and judicial. Cal. Motor Transp. Co. v. Trucking Unlimited,

404 U.S. 508, 510 (1972); see Video Int'! Prod., 858 F .2d at 1082. This includes petitions by

government officials to other governmental agencies. See, e.g., New W, L.P. v. City of Joliet, 491

F.3d 717, 722 (7th Cir. 2007); Affordable Hous. Dev. Corp. v. City of Fresno, 433 F.3d 1182, I 193

(9th Cir.2006); Mariana v. Fisher, 338 F.3d 189, 200 (3d Cir. 2003); Manistee Town Ctr. v. City of

Glendale, 227 F .3d 1090, 1094 (9th Cir. 2000). 17


17   This case is distinguishable from Video International Products on this point, which involved the City of
     Dallas' own zoning enforcement decisions - not an attempt by a state government official to petition the
     federal government for redress. See 858 F.2d at 1086. There, the Fifth Circuit correctly observed that "it
     is impossible for the government to petition itself within the meaning of the First Amendment." Warner-
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         Noerr-Pennington immunity applies to the Pennsylvania Defendants here because the "kind

of petitioning" they engaged in is "nearly as vital to the functioning of a modern representative

democracy as petitioning that originates with private citizens." Manistee Town Ctr., 227 F .3d at 1094.

Each of Plaintiffs' claims against the Pennsylvania Defendants concerns actions taken in their official

capacities, as ombudsmen for their constituents, to lobby (i.e., send a letter to the State Department

and issue a press release) and petition (i.e., through the Washington Suit) the Federal Government on

an important issue of public policy. Conduct of that sort is fully protected by the First Amendment

and, therefore, subject to Noerr-Pennington immunity.

         For this additional reason, all claims against the Pennsylvania Defendants should be

dismissed.

E.       Plaintiffs Cannot Collaterally Attack the Preliminary Injunction Entered in the
         Washington Suit with this Suit in the Western District of Texas

         Plaintiffs seek a declaration that the Pennsylvania Defendants "have unconstitutionally

abridged the Plaintiffs' ... freedoms" by preventing them from publishing the CAD files on the

internet, and seek injunctive relief "protecting the Plaintiffs' from such infringement in the future."

See Am. Comp!. at ~186. But they already lost this suit in Washington State and chose not to appeal.

         Plaintiffs' inability to publish the CAD files is not due to any press release or statement issued

by the Pennsylvania Defendants, or to any press statements Shapiro may have made to Wired

Magazine. It is the injunctive relief entered against the Federal Government in the Washington Suit

that prevents Plaintiffs from engaging in the conduct that they ask this Court to allow. See Am.

Comp!. at ~63; see also Exhibit D at p. 13 ("[L]iberty came to a crashing halt ... when this court

issued a [injunction]. Although no injunctive relief was issued against [Plaintiffs], the direct result of




     Amex, 858 F.2d at 1086 (emphasis added). Here, the Pennsylvania Defendants have been sued based upon
     their petitioning of the Federal Government- not the Commonwealth of Pennsylvania. See Mariana, 338
     F .3d at 199 (explaining Video Int 'l Prod. does not stand for the proposition that Noerr-Pennington is
     unavailable to public-entity defendants).

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the [injunction] was to render speech that was lawful, unlawful."). Plaintiffs, both of whom are parties

to the Washington Suit, vocally opposed the preliminary injunction that was granted. They lost and

chose not to seek interlocutory appellate review of the Hon. Robert Lasnik's decision. They cannot

now collaterally attack that injunction here. See Celotex Corp. v. Edwards, 514 U.S. 300,313 (1995)

("Respondents chose not to pursue [the federal appellate process], but instead to collaterally attack

the ... [i]njunction in the federal courts in Texas. This they cannot be permitted to do without

seriously undercutting the orderly process of law.").

        "Even though an action has an independent purpose and contemplates some other relief, it is

a collateral attack if it must in some fashion overrule a previous judgment." Miller v. Meinhard-

Commercial Corp., 462 F.2d 358, 360 (5th Cir. 1972). The relief that Plaintiffs seek- the ability to

publish the CAD files - cannot be granted without, in some form or fashion, overruling the

preliminary injunction granted by the Western District of Washington. The two cannot coexist. As

such, this suit constitutes an impermissible collateral attack on a preliminary injunction entered by a

court of equal dignity.     Granting Plaintiffs the relief they seek would interfere with the proper

jurisdiction of the Western District of Washington. See Hays, 418 F. Supp. at 120-21 (dismissing suit

as an impermissible collateral attack on preliminary injunction).

        The Court should decline Plaintiffs' invitation to commit error by sanctioning a collateral

attack, and dismiss this suit in its entirety.

                                                     V.
                                                 CONCLUSION

        For each of the foregoing reasons, the Pennsylvania Defendants respectfully pray that this

Court grant the relief sought herein and dismiss Plaintiffs' claims.




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Dated: December 14, 2018.                  Respectfully submitted,


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                                           DEFENDANTS




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing and/or attached document was filed electronically in
compliance with Local Rule CV-5(a) on December 14, 2018, and was therefore served on all counsel
who are deemed to have consented to electronic service through the Court's CM/ECF system. Local
Rule CV-5(b)(l).




                                                       Isl Joshua A. Huber
                                                   Joshua A. Huber




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